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                                          Timeline for the Morning of January 25, 2019

Time                                                          Event

4:58am   CNN SUV with 2 people arrives and parks on street directly in front of the Stone residence
6:04am   FBI arrives and their operations begin
6:04am   CNN jumps out of vehicle and is permitted to begin filming the FBI activities without being asked to leave
6:06am   After Stone is arrested CNN is approached and asked to move vehicle and leave the area
6:06am   Stone walked out in bed clothes
6:11am   CNN calls counsel for Stone to inform of arrest and seek comment
6:22am   CNN provides to counsel for Stone by text message a draft copy of the indictment said to have come from the SCO
8:55am   Clerk's office enters the unsealing of the Indictment on to the public docket
